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 7                       UNITED STATES DISTRICT COURT
 8                     SOUTHERN DISTRICT OF CALIFORNIA
 9 UNITED STATES OF AMERICA,              )     Case No. 18MJ2085-RBB-CAB
                                          )
10                     Plaintiff,         )
                                          )
11         v.                             )     ORDER TO SHORTEN TIME
                                          )
12 OLGA ESMERALDA GEORGE,                 )     TO FILE RESPONSE
                                          )
13                     Defendant.         )
                                          )
14                                        )
15         Upon application of the Government and good cause appearing thereof,
16         IT IS HEREBY ORDERED that the Government’s Motion to Shorten Time
17 to May 8, 2018 to file its Response to Defendant’s Motion for Bail Review, is
18 granted.
19
20         SO ORDERED.
21
22         DATED:     5/9/18
23
24                                       HON. CATHY ANN BENCIVENGO
                                         United States District Judge
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